  Case 1:17-cr-00089-JTN         ECF No. 30, PageID.79           Filed 04/17/17      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,                                            Hon. Janet T. Neff

 v.                                                          Case No. 1:17-cr-00089

 DEMARCO KNOX,

      Defendant.
 _________________________________/


                                     ORDER OF DETENTION

       This matter is before the Court on the government’s motion for pretrial detention. Defendant

has been charged in a three-count Indictment, which includes conspiracy to distribute controlled

substances, in violation of 21 U.S.C. § 846; possession with intent to distribute controlled

substances, in violation of 21 U.S.C. § 841 (a)(1); and possession of a firearm in furtherance of drug

trafficking, in violation 18 U.S.C. § 924(c)(1)(A)(I). Given the nature of the charges, there is a

statutory rebuttable presumption in favor of detention.

       The government sought defendant’s detention on the bases that he is a danger to the

community, 18 U.S.C. § 1342(f)(1), and that he poses a risk of flight, 18 U.S.C. § 3142(f)(2)(A).

The court conducted a hearing today at which defendant was represented by counsel.

       Having considered the information presented at the hearing, the parties’ oral submissions,

and the information in the Pretrial Services Report, and for the reasons stated on the record, the

Court finds that defendant has rebutted the presumption of detention regarding risk of flight, but has

not rebutted the presumption of detention as to danger to the community. The Court also finds, as

explained on the record, that there is no condition or combination of conditions of release that will

ensure the safety of the community. Accordingly,
  Case 1:17-cr-00089-JTN         ECF No. 30, PageID.80      Filed 04/17/17    Page 2 of 2




       IT IS ORDERED that defendant is committed to the custody of the Attorney General

pending further order of this Court.

       DONE AND ORDERED this 17th day of April, 2017.

                                                          /s/ Phillip J. Green
                                                         PHILLIP J. GREEN
                                                         United States Magistrate Judge




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